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uNlTED sTATEs oF AMERIcA w US QESMM

P|aintif'f

VS.
CR. NO. 05-20190-D

COREY C. HAYES

Defendant.

 

ORDER ON CONTiNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Thursda§[l Segtember 22, 2005l at 9:00 a.m., in Courtroom 3, 9th F|oor

of the Federal Building, Memphis, TN.

 

The period from Ju|y 21, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this if day Of July, 2005.

RN|CE B. D ALD
UNlTED STATES D|STR|CT JUDGE

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UNITED sATE DSTIIC COURT - WETERN DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

